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15   Attorneys for Defendants Twitter, Inc.
     and Jack Dorsey
16
                            IN THE UNITED STATES DISTRICT COURT
17
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
18
     LAURA LOOMER, as an individual, LAURA               Case No. 3:22-cv-02646-LB
19
     LOOMER, in her capacity as a Candidate for          The Honorable Laurel Beeler
20   United States Congress, and LAURA LOOMER
     FOR CONGRESS, INC.,
                                                         NOTICE AND MOTION TO
21                                                       WITHDRAW PRO HAC VICE
                                  Plaintiffs,
22
            v.
23
     META PLATFORMS, INC., MARK
24   ZUCKERBERG, in his capacity as CEO of Meta
     Platforms, Inc. and as an individual, TWITTER,
25
     INC., and JACK DORSEY, in his capacity as
26   former CEO of Twitter, Inc. and as an individual,

27                                Defendants.

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                            NOTICE AND MOTION TO WITHDRAW PRO HAC VICE
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 1          NOTICE IS HEREBY GIVEN that on August 24, 2022, Tassity Johnson of Jenner &

 2   Block LLP, 1099 New York Avenue NW, Suite 900, Washington, DC 20001, respectfully seeks

 3   leave of this Court, pursuant to Local Rule 11-5(a) and in compliance with California Rule of

 4   Professional Conduct 3-700, to withdraw as counsel for Defendants Twitter, Inc. (“Twitter”) and

 5   Jack Dorsey (collectively, “Twitter Defendants”).

 6                   MOTION TO WITHDRAW AS COUNSEL FOR DEFENDANTS

 7          Pursuant to Local Rule 11-5, Tassity Johnson (“Movant”) hereby notifies the parties and

 8   the Court of her intent to withdraw as counsel pro hac vice for the Twitter Defendants. Movant

 9   states the following grounds for this notice and motion:

10          1.       This Court granted Movant leave to appear pro hac vice in this action pursuant to

11   its May 26, 2022 Order.

12          2.       Movant will be withdrawing from Jenner & Block LLP on August 25, 2022. Reid

13   Schar, Alison Stein, and Samuel Ungar of Jenner & Block LLP are representing and will continue

14   to actively represent the Twitter Defendants in this litigation.

15          3.       Movant’s withdrawal will not cause any prejudice or delay to the Court or to any

16   parties or their attorneys in this case. All parties have counsel active in their representation, who

17   will not require any additional time to review or acclimate to the absence of Movant as counsel

18   pro hac vice.

19          4.       This notice of withdrawal is being filed with the Court before service by Defendants
20   of either an answer or a motion for summary judgment.

21          5.       Given the insubstantial nature of this Motion, as well as the substantial burden to

22   all parties in traveling and attending a hearing on this Motion, Movant respectfully requests that

23   the Court waive oral argument.

24          THEREFORE, Movant Tassity Johnson respectfully requests that this Court waive oral

25   argument on this Motion, grant her leave to withdraw as counsel pro hac vice in the above-

26   captioned matter, and enter an order stating that Movant has so withdrawn. A proposed Order to

27   this Motion is respectfully submitted contemporaneously herewith.

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                             NOTICE AND MOTION TO WITHDRAW PRO HAC VICE
             Case 3:22-cv-02646-LB Document 64 Filed 08/24/22 Page 3 of 3




 1   Dated: August 24, 2022             JENNER & BLOCK LLP

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                                        Attorneys for Defendants Twitter, Inc.
16                                      and Jack Dorsey
17

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                        NOTICE AND MOTION TO WITHDRAW PRO HAC VICE
